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                                                                                                      E-FILED
                                                                       Wednesday, 10 May, 2023 01:07:49 PM
                                                                              Clerk, U.S. District Court, ILCD

                            UNITED STATES DISTRICT COURT
                         FOR THE CENTRAL DISTRICT OF ILLINOIS


JANE DOE, et al., Individually and on Behalf
of All Others Similarly Situated,                    Case No. 4:23-cv-04012-SLD-JEH

                   Plaintiffs,                       Judge: Hon. Sara Darrow

                    v.

KNOX COLLEGE,

                   Defendant.


            NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

        Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiffs hereby dismiss their

claims without prejudice. Each party will bear their own costs.

Dated: May 10, 2023                            Respectfully submitted,

                                               By: /s/ Carl V. Malmstrom
                                                   Carl V. Malmstrom
                                                   WOLF HALDENSTEIN ADLER
                                                   FREEMAN & HERZ LLC
                                                   111 W. Jackson Blvd., Suite 1700
                                                   Chicago, Illinois 60604
                                                   Tel: (312) 984-0000
                                                   Fax: (212) 686-0114
                                                   malmstrom@whafh.com

                                                     Mary C. Turke
                                                     mary@turkestrauss.com
                                                     Samuel J. Strauss
                                                     sam@turkestrauss.com
                                                     Raina C. Borrelli
                                                     raina@turkestrauss.com
                                                     TURKE & STRAUSS LLP
                                                     613 Williamson St., Suite 201
                                                     Madison, WI 53703
                                                     Telephone (608) 237-1775
                                                     Facsimile: (608) 509-4423

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                             Gary M. Klinger
                             MILBERG COLEMAN BRYSON
                             PHILLIPS GROSSMAN, PLLC
                             227 W. Monroe Street, Suite 2100
                             Chicago, IL 60606
                             Tel.: (866) 252-0878
                             Email: gklinger@milberg.com

                             Interim Co-Lead Counsel for Plaintiffs and
                             the Proposed Class




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